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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                            BUTTE DIVISION

                                           )
LORI ELLEN PEQUET,                         ) No. 2:20-cv-00051-BMM
                                           )
      Plaintiff,                           )
                                           )
 V.                                        ) ORDER GRANTING FEDERAL
                                           ) FEDERAL EXPRESS CORP'S
                                           ) UNOPPOSED MOTION TO
FEDERAL EXPRESS CORP,                      ) CONTINUE THE MOTIONS
now known as FedEx Corporation,            ) DEADLINE
DOES 1-25                                  )
      Defendants.                          )
                                          J
      Upon review of the Unopposed Motion to Continue the Motions Deadline

filed by Federal Express Corporation, agreement of counsel, and for good cause


appearing:


      IT IS HEREBY ORDERED that Federal Express Corporation's Unopposed

Motion to Continue the Motions Deadline set for January 17, 2022 is GRANTED

and the new Motions Deadline is February 16, 2022.

      Dated this2nd
                 _ day of December, 2021.



                                     Brian Morris, Chief District Judge
                                     United States District Court
